            Case 3:13-cr-05308-BHS           Document 81        Filed 10/08/13         Page 1 of 2



1
                                                         THE HONORABLE BENJAMIN H. SETTLE
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6
                                   UNITED STATES DISTRICT COURT
7                                 WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
8
     UNITED STATES OF AMERICA,                         ) Case No.: CR13-5308BHS
9                                                      )
                     Plaintiff,                        )
10           vs.                                       ) AGREED ORDER POSTPONING TRIAL
                                                       ) UNTIL THURSDAY,OCTOBER 31, 2013
11   RAY EUGENE CALDWELL,                              )
                                                       )
12                   Defendant.                        )
                                                       )
13
                                                       )
14
             Before this Court is a stipulated motion to postpone the trial in the above captioned matter
15
     to Thursday, October 31, 2013. The government stipulating to said postponement, the Court
16
     finds, after a consideration of all relevant information and the circumstances of this case, that
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18   without this postponement the defendant will be prejudiced and the ability to properly prepare for

19   trial would be impaired. Failure to grant a postponement under these circumstances would result

20   in a miscarriage of justice. The ends of justice would best be served by the granting of the motion
21   for postponement. The ends of justice outweigh the best interests of the public and the defendant
22
     in having the matter continue sooner.
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             For these reasons, the Court finds the stipulated motion for postponement should be
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     granted. The trial is hereby postponed. Trial shall resume on Thursday, October 31, 2013 at 9:00
25

26   a.m.

27

     AGREED ORDER POSTPONING TRIAL - 1                                    HESTER LAW GROUP, INC., P.S.
                                                                            1008 So. Yakima Ave., Suite 302
                                                                                  Tacoma, WA 98405
                                                                          (253) 272-2157/Fax: (253) 572-1441
           Case 3:13-cr-05308-BHS       Document 81         Filed 10/08/13        Page 2 of 2



1           IT IS SO ORDERED.
2           DONE this 8th day of October, 2013.
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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge

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11
     Presented by:
12
     HESTER LAW GROUP, INC., P.S.
13   Attorneys for Defendant

14          /s/ Wayne C. Fricke

15   By: _________________________
         Wayne C. Fricke
16       WSB #16550

17   U.S. ATTORNEY’S OFFICE

18   Approved Via E-Mail: 10/08/2013

19   By:    _________________________
            James D. Oesterle
20
            Assistant U.S. Attorney
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     AGREED ORDER POSTPONING TRIAL - 2                               HESTER LAW GROUP, INC., P.S.
                                                                       1008 So. Yakima Ave., Suite 302
                                                                             Tacoma, WA 98405
                                                                     (253) 272-2157/Fax: (253) 572-1441
